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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known):                                        Chapter you are filing under:
                                                                          Chapter 7
                                                                          Chapter 11
                                                                          Chapter 12
                                                                                                                                         Check if this is an
                                                                          Chapter 13
                                                                                                                                         amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                         Bobby                                                          Stephanie
     government-issued picture
                                         First Name                                                     First Name
     identification (for example,
     your driver's license or                                                                           Carol Cook
     passport).                          Middle Name                                                    Middle Name

                                         Stoker                                                         Stoker
     Bring your picture                  Last Name                                                      Last Name
     identification to your meeting
     with the trustee.                   Suffix (Sr., Jr., II, III)                                     Suffix (Sr., Jr., II, III)


2.   All other names you                                                                                Stephanie
     have used in the last 8             First Name                                                     First Name
     years                                                                                              Carol
                                         Middle Name                                                    Middle Name
     Include your married or
                                                                                                        Jones
     maiden names.
                                         Last Name                                                      Last Name


3.   Only the last 4 digits of
     your Social Security                xxx – xx –                   9        9       4      0         xxx – xx –                   7         7        2      2
     number or federal                   OR                                                             OR
     Individual Taxpayer
     Identification number               9xx – xx –                                                     9xx – xx –
     (ITIN)




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                            page 1
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                        Case number (if known)

                                       About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                        I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers                                                                         Cook Mobile Notary Service
     (EIN) you have used in            Business name                                                Business name
     the last 8 years
                                       Business name                                                Business name
     Include trade names and
     doing business as names
                                       Business name                                                Business name

                                                    –                                                           –
                                       EIN                                                          EIN

                                                    –                                                           –
                                       EIN                                                          EIN
5.   Where you live                                                                                 If Debtor 2 lives at a different address:

                                       908 Garden Drive
                                       Number       Street                                          Number      Street




                                       Longview                        TX       75603
                                       City                            State    ZIP Code            City                           State    ZIP Code

                                       Gregg
                                       County                                                       County

                                       If your mailing address is different from                    If Debtor 2's mailing address is different
                                       the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                       court will send any notices to you at this                   will send any notices to you at this mailing
                                       mailing address.                                             address.



                                       Number       Street                                          Number      Street


                                       P.O. Box                                                     P.O. Box


                                       City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing              Check one:                                                   Check one:
     this district to file for
     bankruptcy                                Over the last 180 days before filing this                   Over the last 180 days before filing this
                                               petition, I have lived in this district longer              petition, I have lived in this district longer
                                               than in any other district.                                 than in any other district.

                                               I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the              Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you             for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                    Chapter 7

                                              Chapter 11

                                              Chapter 12

                                              Chapter 13



Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                  Case number (if known)

8.   How you will pay the fee               I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                            court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                            pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                            behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                            Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                            By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                            than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                            fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                            Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                     No
     bankruptcy within the
     last 8 years?                          Yes.

                                     District                                                 When                    Case number
                                                                                                     MM / DD / YYYY
                                     District                                                 When                    Case number
                                                                                                     MM / DD / YYYY

                                     District                                                 When                    Case number
                                                                                                     MM / DD / YYYY

10. Are any bankruptcy                      No
    cases pending or being
    filed by a spouse who is                Yes.
    not filing this case with
                                     Debtor                                                               Relationship to you
    you, or by a business
    partner, or by an                District                                                 When                    Case number,
    affiliate?                                                                                       MM / DD / YYYY   if known


                                     Debtor                                                               Relationship to you

                                     District                                                 When                    Case number,
                                                                                                     MM / DD / YYYY   if known

11. Do you rent your                        No.    Go to line 12.
    residence?                              Yes. Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                        and file it as part of this bankruptcy petition.




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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                  Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?
                                                   dba Cook Mobile Notary Service
    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a                       908 Garden Drive, Longview TX
    separate legal entity such as                  Number      Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business          or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                    State          ZIP Code




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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                 Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                    Incapacity.   I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                    Disability.   My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                    Active duty. I am currently on active military              Active duty. I am currently on active military
                                                 duty in a military combat zone.                             duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                 Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you        16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                    as "incurred by an individual primarily for a personal, family, or household purpose."
                                                   No. Go to line 16b.
                                                   Yes. Go to line 17.

                                     16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                  No. Go to line 16c.
                                                  Yes. Go to line 17.

                                     16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                              No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after              Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                            No
    are paid that funds will be
                                                       Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                   1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                   50-99                            5,001-10,000                       50,001-100,000
    owe?                                    100-199                          10,001-25,000                      More than 100,000
                                            200-999

19. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                 $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                               $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                         $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to            $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                     $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                  Case number (if known)


 Part 7:      Sign Below
For you                              I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                     and correct.

                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                     or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                     proceed under Chapter 7.

                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                     fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                     connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                     or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                     X /s/ Bobby Stoker                                          X /s/ Stephanie Carol Cook Stoker
                                        Bobby Stoker, Debtor 1                                      Stephanie Carol Cook Stoker, Debtor 2

                                        Executed on 06/10/2019                                      Executed on 06/10/2019
                                                    MM / DD / YYYY                                              MM / DD / YYYY




Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                 Case number (if known)

For your attorney, if you are        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                   eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                     relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by        the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need         certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                   is incorrect.



                                     X /s/ Carol Cross Stone                                               Date 06/10/2019
                                        Signature of Attorney for Debtor                                        MM / DD / YYYY


                                        Carol Cross Stone
                                        Printed name
                                        Law Office of Carol Cross Stone
                                        Firm Name
                                        1118 Judson Road
                                        Number          Street




                                        Longview                                                   TX              75601
                                        City                                                       State           ZIP Code


                                        Contact phone (903) 759-5922                     Email address carol@crossstone.com


                                        24064289
                                        Bar number                                                 State




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  Fill in this information to identify your case and this filing:
  Debtor 1               Bobby                                            Stoker
                         First Name                  Middle Name          Last Name

  Debtor 2            Stephanie                      Carol Cook           Stoker
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
908 Garden Drive                                           Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the        Current value of the
                                                               Condominium or cooperative                entire property?            portion you own?
Longview                         TX       75603                Manufactured or mobile home                         $174,550.00                 $174,550.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Gregg                                                                                                    entireties, or a life estate), if known.
                                                               Other
County
                                                                                                         Fee Simple
                                                           Who has an interest in the property?
Homestead: 908 Garden Drive
                                                           Check one.
                                                               Debtor 1 only                                Check if this is community property
                                                               Debtor 2 only                                (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:  36196
Legal Description: Lt 16 Blk 1 Big T Ranchettes #1

4 acres. Market value per tax assessor is $260,240. Debtors disagree with value and believe fair market value approx.
$174,550. Home has reverse mortgage which exceeds value.




Official Form 106A/B                                                    Schedule A/B: Property                                                       page 1
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Debtor 1        Bobby Stoker
Debtor 2        Stephanie Carol Cook Stoker                                                       Case number (if known)


1.2.                                                     What is the property?                         Do not deduct secured claims or exemptions. Put the
2205 Bledsoe                                             Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description           Single-family home                        Creditors Who Have Claims Secured by Property.
                                                             Duplex or multi-unit building             Current value of the        Current value of the
                                                             Condominium or cooperative                entire property?            portion you own?
Marshall                         TX       75670              Manufactured or mobile home                            $8,000.00                 $8,000.00
City                             State    ZIP Code           Land
                                                             Investment property                       Describe the nature of your ownership
                                                             Timeshare                                 interest (such as fee simple, tenancy by the
Harrison                                                                                               entireties, or a life estate), if known.
                                                             Other
County
                                                         Who has an interest in the property?
                                                                                                       Fee Simple
2205 Bledsoe                                             Check one.
                                                             Debtor 1 only                                Check if this is community property
                                                             Debtor 2 only                                (see instructions)
                                                             Debtor 1 and Debtor 2 only
                                                             At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

Legal Description: Acres: 0.165, Lot: 3, Blk: 4, Subd: J I Carter, Hse. Small 2 bedroom house on small house. Roof damage
from hail. Insurance paid $6,000 which was paid to roofer for roof replacement. No A/C. Needs interior and exterior repairs.

Tax Value of house is $8,750. Debtor values house at about $8,000.

1.3.                                                     What is the property?                         Do not deduct secured claims or exemptions. Put the
Morton                                                   Check all that apply.                         amount of any secured claims on Schedule D:
                                                             Single-family home                        Creditors Who Have Claims Secured by Property.
Lot on Morton Street                                         Duplex or multi-unit building             Current value of the        Current value of the
Legal: Acres: 0.144, Lot 6, Blk 4, Subd:                     Condominium or cooperative                entire property?            portion you own?
Wileyview 2nd, V. Tax value is $1820.                        Manufactured or mobile home                            $1,000.00                 $1,000.00
Debtors disagrees with tax value.                            Land
Debtor values at less than $1000. Has                        Investment property                       Describe the nature of your ownership
tried to sell for $500 and could not.                        Timeshare                                 interest (such as fee simple, tenancy by the
                                                             Other                                     entireties, or a life estate), if known.

Harrison                                                                                               Fee Simple
                                                         Who has an interest in the property?
County
                                                         Check one.
                                                             Debtor 1 only                                Check if this is community property
                                                             Debtor 2 only                                (see instructions)
                                                             Debtor 1 and Debtor 2 only
                                                             At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:




Official Form 106A/B                                                  Schedule A/B: Property                                                       page 2
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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                           Case number (if known)


1.4.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
3046 50th Street                                         Check all that apply.                               amount of any secured claims on Schedule D:
                                                              Single-family home                             Creditors Who Have Claims Secured by Property.
3046 50th St, Dallas TX                                       Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
                                                              Manufactured or mobile home                                  $25,000.00                  $12,500.00
Dallas
County                                                        Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                         Who has an interest in the property?
                                                                                                             Undivided 50% interest
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:  447526
Lot 29, Block 50th St, Ann Arbor
Tax value is $106,830. Debtor disagrees with tax value and values at $25,000. Inherited from mother along with brother.
House in very bad condition. Foundation, sewer, floor, plumbing, roof, etc. all need repair.
2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $196,050.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                      Focus
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2014                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 65,000                                   At least one of the debtors and another             $7,825.00                             $7,825.00
Other information:
2014 Ford Focus                                               Check if this is community property
Mileage: 65,000                                               (see instructions)

3.2.                                                     Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Harley Davidson              Check one.                                          amount of any secured claims on Schedule D:
                                                                                                             Creditors Who Have Claims Secured by Property.
Model:                      Streetglide Motorcycle Debtor 1 only
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                       2017                                                                      entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 9,500                                    At least one of the debtors and another            $17,185.00                            $17,185.00
Other information:
2017 Harley Davidson Streetglide                              Check if this is community property
Motorcycle Mileage: 9,500                                     (see instructions)




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 3
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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                         Case number (if known)


3.3.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    F-150
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2017
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 15,100                                 At least one of the debtors and another            $60,212.50                           $60,212.50
Other information:
2017 Ford F-250                                             Check if this is community property
Mileage: 15,100                                             (see instructions)

3.4.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Volkswagon                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Bug
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     1969                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 200,000                                At least one of the debtors and another             $8,050.00                             $8,050.00
Other information:
1969 Volkswagon Bug (approx.                                Check if this is community property
200,000 miles). Fair condition. Needs                       (see instructions)
new paint job and restoration.
3.5.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Ford                         Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    F-150
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     1986
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 200,000                                At least one of the debtors and another             $1,000.00                             $1,000.00
Other information:
1986 Ford F-150 (approx. 200,000                            Check if this is community property
miles). Does not run. Rough condition.                      (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Artic                        Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Cat
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2006                                                                      entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Other information:                                          At least one of the debtors and another             $1,000.00                             $1,000.00
2006 Artic Cat - runs but condition is
fair. Use for checking fences, putting                      Check if this is community property
garbage out, mail, checking cows                            (see instructions)
(when have.)
4.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Starcraft                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Other information:                                          At least one of the debtors and another                $250.00                              $250.00
Starcraft boat. Leaks -- rough
condition. Does have motor, but needs                       Check if this is community property
substantial work. Engine and trailer.                       (see instructions)
5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $95,522.50




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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                                         Case number (if known)


  Part 3:          Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $3,700.00

7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
            No
            Yes. Describe............
                                Electronics: 4 TV's, 3 Cell Phones, Desktop & Laptop                                                                                         $500.00

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
            No
            Yes. Describe............
                                Misc. Art, Music, Videos, Family Photos, Books & Collectibles                                                                                $250.00

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............
                                Sports/Hobby Equipment: Pool Table, Golf Clubs, old rods and reels                                                                           $500.00

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............
                                Firearms: Glock 19 (250), 3 Rifles ($200 each), small amount of ammo (50)                                                                    $850.00

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                    $800.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                  $1,500.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Pets: Dog                                                                                                                                      $50.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................      $8,150.00




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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                                                        Case number (if known)


 Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.....................................................................................................................................................................................................
                                                                                                                                                    Cash: ...........................................               $75.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................                   Institution name:

            17.1.        Checking account:                     Eastman Credit Union xx4394                                                                                                                  $441.00
            17.2.        Checking account:                     Eastman Credit Union xx4493                                                                                                                  $184.35
            17.3.        Checking account:                     USAA xx7374-9                                                                                                                                  $41.12
            17.4.        Checking account:                     Bank of America Checking account (Exclusively social security)                                                                               $550.12
            17.5.        Savings account:                      Eastman Credit Union xx4419                                                                                                              $5,012.22
            17.6.        Savings account:                      Eastman Credit Union xx4500                                                                                                                      $5.07
            17.7.        Savings account:                      USAA xx6898-9

                                                               Wife/ Daughter Account
                                                               Funds belong to daughter. Joint Debtor co-listed due to
                                                               daughter's age. Account balance 3.13                                                                                                             $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                                                           % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.               Type of account:                    Institution name:


Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 6
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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                             Case number (if known)

                                           401(k) or similar plan: Wife - 401(k) through employer                                                     $37,000.00
                                           Pension plan:               Wife - Pension plan through employer                                           $40,000.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific     Wife - motorcycle license, notary license, security officer                                                               $0.00
           information about them Both - license to carry firearms

                                               Not transferrable - no market value
Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                         Federal:
           about them, including whether
           you already filed the returns                                                                                          State:
           and the tax years.....................................
                                                                                                                                  Local:




Official Form 106A/B                                                         Schedule A/B: Property                                                          page 7
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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                                         Case number (if known)

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information Husband receives Social Security Retirement - $2,026/mo                                                                             $0.00

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:

                                                   Wife - Group term Life Insurance
                                                   through employer - no cash value                                                                                            $0.00
                                                                                                                Daughter, Granddaughter &
                                                   Global Life Insurance - no cash value                        Son                                                            $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............
                                              Hail Damage to Roof of homestead - Forwarded full payment of                                                               $14,600.00
                                                         $14,000 to roof contractor. Mortgage company has lien against
                                                         these proceeds.
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $97,908.88




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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                                         Case number (if known)


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 9
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Debtor 1          Bobby Stoker
Debtor 2          Stephanie Carol Cook Stoker                                                                        Case number (if known)

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................
                     1989 John Deer Tractor (1000) w/ bushhog (300)                                                                                                        $1,300.00

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific           Used 16ft trailer (300), Used 9 ft trailer (200)                                                                                    $500.00
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................     $1,800.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                          page 10
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Debtor 1           Bobby Stoker
Debtor 2           Stephanie Carol Cook Stoker                                                                                Case number (if known)


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $196,050.00

56. Part 2: Total vehicles, line 5                                                                                  $95,522.50

57. Part 3: Total personal and household items, line 15                                                               $8,150.00

58. Part 4: Total financial assets, line 36                                                                         $97,908.88

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                         $1,800.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $203,381.38               property total                 +          $203,381.38



63. Total of all property on Schedule A/B.                                                                                                                                                  $399,431.38
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                  page 11
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Debtor 1    Bobby Stoker
Debtor 2    Stephanie Carol Cook Stoker                                              Case number (if known)


6.   Household goods and furnishings (details):

     Living Room Furniture: 2 Sofa's, 2 End Tables & Coffee Table                                                             $1,000.00

     no single item over $625
     Dining Room Furniture: Table with 8 Chairs, China Cabinet, Chair & Shelf                                                  $600.00

     Bedrooms Furniture: Mattresses, Queen Bed, King Bed, 4 Night Stands, 2 Dressers, Chest of                                 $800.00
     Drawers, Shelf & Lamps

     no single item over $625
     Kitchen: 2 Refrigerators, Stove, Microwave, Table with 4 Rolling Chairs & 3 Bar Stools                                    $250.00

     Kitchen - Equipment/Supplies/Linens                                                                                        $50.00

     Other Rooms Furniture: Washer/Dryer Children's Toys                                                                       $800.00

     no single item over $625
     Home & Garden Tools: Tiller, Lawn Mower, Leaf Blower, Rake & Shovel                                                       $200.00

11. Clothes (details):

     Used Men's Clothing                                                                                                       $150.00

     Used Women's Clothing                                                                                                     $250.00

     Used Children/Teen Clothing                                                                                               $400.00

12. Jewelry (details):

     Miscellaneous Costume Jewelry                                                                                             $200.00

     Jewelry: Wedding Rings                                                                                                   $1,300.00




Official Form 106A/B                                     Schedule A/B: Property                                                  page 12
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 Fill in this information to identify your case:
 Debtor 1              Bobby                                        Stoker
                       First Name            Middle Name            Last Name
 Debtor 2            Stephanie               Carol Cook             Stoker
 (Spouse, if filing) First Name              Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                        Check if this is an
 Case number                                                                                                            amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                  04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?                Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on              Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                      the portion you      exemption you claim
                                                           own
                                                           Copy the value from Check only one box for
                                                           Schedule A/B        each exemption


Brief description:                                           $174,550.00                     $0.00           11 U.S.C. § 522(d)(1)
Homestead: 908 Garden Drive                                                          100% of fair market
Legal Description: Lt 16 Blk 1 Big T                                                 value, up to any
Ranchettes #1                                                                        applicable statutory
                                                                                     limit
4 acres. Market value per tax assessor is
$260,240. Debtors disagree with value and
believe fair market value approx.
$174,550. Home has reverse mortgage
which exceeds value.
Parcel: 36196
Line from Schedule A/B: 1.1




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                                 Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                 Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of     Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you      exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                        $8,000.00                $7,969.40           11 U.S.C. § 522(d)(5)
2205 Bledsoe                                                                   100% of fair market
Legal Description: Acres: 0.165, Lot: 3, Blk:                                  value, up to any
4, Subd: J I Carter, Hse. Small 2 bedroom                                      applicable statutory
house on small house. Roof damage from                                         limit
hail. Insurance paid $6,000 which was paid
to roofer for roof replacement. No A/C.
Needs interior and exterior repairs.

Tax Value of house is $8,750. Debtor
values house at about $8,000.
Line from Schedule A/B: 1.2

Brief description:                                       $12,500.00                $5,571.84           11 U.S.C. § 522(d)(5)
3046 50th St, Dallas TX                                                        100% of fair market
Lot 29, Block 50th St, Ann Arbor                                               value, up to any
Tax value is $106,830. Debtor disagrees                                        applicable statutory
with tax value and values at $25,000.                                          limit
Inherited from mother along with brother.
House in very bad condition. Foundation,
sewer, floor, plumbing, roof, etc. all need
repair.
Parcel: 447526
Line from Schedule A/B: 1.4

Brief description:                                       $60,212.50                   $0.00            11 U.S.C. § 522(d)(2)
2017 Ford F-150 (approx. 15,100 miles)                                         100% of fair market
2017 Ford F-250                                                                value, up to any
Mileage: 15,100                                                                applicable statutory
Line from Schedule A/B: 3.3                                                    limit

Brief description:                                        $8,050.00                $4,000.00           11 U.S.C. § 522(d)(2)
1969 Volkswagon Bug (approx. 200,000                                           100% of fair market
miles). Fair condition. Needs new paint job                                    value, up to any
and restoration.                                                               applicable statutory
(1st exemption claimed for this asset)                                         limit
Line from Schedule A/B:  3.4

Brief description:                                        $8,050.00                $4,050.00           11 U.S.C. § 522(d)(5)
1969 Volkswagon Bug (approx. 200,000                                           100% of fair market
miles). Fair condition. Needs new paint job                                    value, up to any
and restoration.                                                               applicable statutory
(2nd exemption claimed for this asset)                                         limit
Line from Schedule A/B:  3.4

Brief description:                                        $1,000.00                $1,000.00           11 U.S.C. § 522(d)(2)
1986 Ford F-150 (approx. 200,000 miles).                                       100% of fair market
Does not run. Rough condition.                                                 value, up to any
Line from Schedule A/B: 3.5                                                    applicable statutory
                                                                               limit




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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                        $1,000.00                 $1,000.00           11 U.S.C. § 522(d)(5)
2006 Artic Cat - runs but condition is fair.                                    100% of fair market
Use for checking fences, putting garbage                                        value, up to any
out, mail, checking cows (when have.)                                           applicable statutory
Line from Schedule A/B: 4.1                                                     limit

Brief description:                                            $250.00                $250.00            11 U.S.C. § 522(d)(5)
Starcraft boat. Leaks -- rough condition.                                       100% of fair market
Does have motor, but needs substantial                                          value, up to any
work. Engine and trailer.                                                       applicable statutory
Line from Schedule A/B:  4.2                                                    limit

Brief description:                                        $1,000.00                 $1,000.00           11 U.S.C. § 522(d)(3)
Living Room Furniture: 2 Sofa's, 2 End                                          100% of fair market
Tables & Coffee Table                                                           value, up to any
                                                                                applicable statutory
no single item over $625                                                        limit
Line from Schedule A/B:       6

Brief description:                                            $600.00                $600.00            11 U.S.C. § 522(d)(3)
Dining Room Furniture: Table with 8 Chairs,                                     100% of fair market
China Cabinet, Chair & Shelf                                                    value, up to any
Line from Schedule A/B: 6                                                       applicable statutory
                                                                                limit

Brief description:                                            $800.00                $800.00            11 U.S.C. § 522(d)(3)
Bedrooms Furniture: Mattresses, Queen                                           100% of fair market
Bed, King Bed, 4 Night Stands, 2 Dressers,                                      value, up to any
Chest of Drawers, Shelf & Lamps                                                 applicable statutory
                                                                                limit
no single item over $625
Line from Schedule A/B:       6

Brief description:                                            $250.00                $250.00            11 U.S.C. § 522(d)(3)
Kitchen: 2 Refrigerators, Stove,                                                100% of fair market
Microwave, Table with 4 Rolling Chairs & 3                                      value, up to any
Bar Stools                                                                      applicable statutory
Line from Schedule A/B:  6                                                      limit

Brief description:                                            $50.00                  $50.00            11 U.S.C. § 522(d)(3)
Kitchen - Equipment/Supplies/Linens                                             100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       6
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $800.00                $800.00            11 U.S.C. § 522(d)(3)
Other Rooms Furniture: Washer/Dryer                                             100% of fair market
Children's Toys                                                                 value, up to any
                                                                                applicable statutory
no single item over $625                                                        limit
Line from Schedule A/B:       6




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                             page 3
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $200.00                $200.00            11 U.S.C. § 522(d)(3)
Home & Garden Tools: Tiller, Lawn Mower,                                        100% of fair market
Leaf Blower, Rake & Shovel                                                      value, up to any
Line from Schedule A/B: 6                                                       applicable statutory
                                                                                limit

Brief description:                                            $500.00                $500.00            11 U.S.C. § 522(d)(3)
Electronics: 4 TV's, 3 Cell Phones, Desktop                                     100% of fair market
& Laptop                                                                        value, up to any
Line from Schedule A/B:  7                                                      applicable statutory
                                                                                limit

Brief description:                                            $250.00                $250.00            11 U.S.C. § 522(d)(3)
Misc. Art, Music, Videos, Family Photos,                                        100% of fair market
Books & Collectibles                                                            value, up to any
Line from Schedule A/B:  8                                                      applicable statutory
                                                                                limit

Brief description:                                            $500.00                $500.00            11 U.S.C. § 522(d)(5)
Sports/Hobby Equipment: Pool Table, Golf                                        100% of fair market
Clubs, old rods and reels                                                       value, up to any
Line from Schedule A/B: 9                                                       applicable statutory
                                                                                limit

Brief description:                                            $850.00                $850.00            11 U.S.C. § 522(d)(5)
Firearms: Glock 19 (250), 3 Rifles ($200                                        100% of fair market
each), small amount of ammo (50)                                                value, up to any
Line from Schedule A/B: 10                                                      applicable statutory
                                                                                limit

Brief description:                                            $150.00                $150.00            11 U.S.C. § 522(d)(3)
Used Men's Clothing                                                             100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $250.00                $250.00            11 U.S.C. § 522(d)(3)
Used Women's Clothing                                                           100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $400.00                $400.00            11 U.S.C. § 522(d)(3)
Used Children/Teen Clothing                                                     100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       11
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $200.00                $200.00            11 U.S.C. § 522(d)(4)
Miscellaneous Costume Jewelry                                                   100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                             page 4
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                        $1,300.00                 $1,300.00           11 U.S.C. § 522(d)(4)
Jewelry: Wedding Rings                                                          100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       12
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $50.00                  $50.00            11 U.S.C. § 522(d)(5)
Pets: Dog                                                                       100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       13
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $75.00                  $75.00            11 U.S.C. § 522(d)(5)
Cash on hand                                                                    100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       16
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $441.00                $441.00            11 U.S.C. § 522(d)(5)
Eastman Credit Union xx4394                                                     100% of fair market
                                                                                value, up to any
Line from Schedule A/B:      17.1
                                                                                applicable statutory
                                                                                limit

Brief description:                                        $5,012.22                 $5,012.22           11 U.S.C. § 522(d)(5)
Eastman Credit Union xx4419                                                     100% of fair market
                                                                                value, up to any
Line from Schedule A/B:      17.5
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $184.35                $184.35            11 U.S.C. § 522(d)(5)
Eastman Credit Union xx4493                                                     100% of fair market
                                                                                value, up to any
Line from Schedule A/B:      17.2
                                                                                applicable statutory
                                                                                limit

Brief description:                                             $5.07                   $5.07            11 U.S.C. § 522(d)(5)
Eastman Credit Union xx4500                                                     100% of fair market
                                                                                value, up to any
Line from Schedule A/B:      17.6
                                                                                applicable statutory
                                                                                limit

Brief description:                                             $0.00                   $0.00            11 U.S.C. § 522(d)(5)
USAA xx6898-9                                                                   100% of fair market
                                                                                value, up to any
Wife/ Daughter Account                                                          applicable statutory
Funds belong to daughter. Joint Debtor co-                                      limit
listed due to daughter's age. Account
balance 3.13
Line from Schedule A/B: 17.7




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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on         Current value of      Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property                 the portion you       exemption you claim
                                                      own
                                                      Copy the value from Check only one box for
                                                      Schedule A/B        each exemption

Brief description:                                            $41.12                  $41.12            11 U.S.C. § 522(d)(5)
USAA xx7374-9                                                                   100% of fair market
                                                                                value, up to any
Line from Schedule A/B:      17.3
                                                                                applicable statutory
                                                                                limit

Brief description:                                            $550.12                $550.12            11 U.S.C. § 522(d)(10)(A)
Bank of America Checking account                                                100% of fair market
(Exclusively social security)                                                   value, up to any
Line from Schedule A/B: 17.4                                                    applicable statutory
                                                                                limit

Brief description:                                       $37,000.00                 $37,000.00          11 U.S.C. § 522(d)(12)
Wife - 401(k) through employer                                                  100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       21
                                                                                applicable statutory
                                                                                limit

Brief description:                                       $40,000.00                 $40,000.00          11 U.S.C. § 522(d)(12)
Wife - Pension plan through employer                                            100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       21
                                                                                applicable statutory
                                                                                limit

Brief description:                                             $0.00                   $0.00            11 U.S.C. § 522(d)(7)
Wife - Group term Life Insurance through                                        100% of fair market
employer - no cash value                                                        value, up to any
Line from Schedule A/B:  31                                                     applicable statutory
                                                                                limit

Brief description:                                             $0.00                   $0.00            11 U.S.C. § 522(d)(7)
Global Life Insurance - no cash value                                           100% of fair market
                                                                                value, up to any
Line from Schedule A/B:       31
                                                                                applicable statutory
                                                                                limit

Brief description:                                       $14,600.00                    $0.00            11 U.S.C. § 522(d)(1)
Hail Damage to Roof of homestead -                                              100% of fair market
Forwarded full payment of $14,000 to roof                                       value, up to any
contractor. Mortgage company has lien                                           applicable statutory
against these proceeds.                                                         limit
Line from Schedule A/B: 33

Brief description:                                        $1,300.00                 $1,300.00           11 U.S.C. § 522(d)(5)
1989 John Deer Tractor (1000) w/ bushhog                                        100% of fair market
(300)                                                                           value, up to any
Line from Schedule A/B: 49                                                      applicable statutory
                                                                                limit

Brief description:                                            $500.00                $500.00            11 U.S.C. § 522(d)(5)
Used 16ft trailer (300), Used 9 ft trailer                                      100% of fair market
(200)                                                                           value, up to any
Line from Schedule A/B:   51                                                    applicable statutory
                                                                                limit



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                                                 UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF TEXAS
                                                          TYLER DIVISION
  IN RE: Bobby Stoker                                                                            CASE NO
         Stephanie Carol Cook Stoker
                                                                                                CHAPTER         7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)

Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                         Scheme Selected: Federal
                                                                Gross                Total              Total         Total Amount    Total Amount
No.     Category                                        Property Value       Encumbrances              Equity               Exempt     Non-Exempt


1.      Real property                                    $196,050.00            $279,213.07       $20,563.03           $13,541.24       $7,021.79

3.      Motor vehicles (cars, etc.)                       $94,272.50            $101,025.68        $9,050.00            $9,050.00           $0.00

4.      Water/Aircraft, Motor Homes,                       $1,250.00                  $0.00        $1,250.00            $1,250.00           $0.00
        Rec. veh. and access.

6.      Household goods and furnishings                    $3,700.00                  $0.00        $3,700.00            $3,700.00           $0.00

7.      Electronics                                          $500.00                  $0.00          $500.00              $500.00           $0.00

8.      Collectibles of value                                $250.00                  $0.00          $250.00              $250.00           $0.00

9.      Equipment for sports and hobbies                     $500.00                  $0.00          $500.00              $500.00           $0.00

10.     Firearms                                             $850.00                  $0.00          $850.00              $850.00           $0.00

11.     Clothes                                              $800.00                  $0.00          $800.00              $800.00           $0.00

12.     Jewelry                                            $1,500.00                  $0.00        $1,500.00            $1,500.00           $0.00

13.     Non-farm animals                                      $50.00                  $0.00           $50.00               $50.00           $0.00

14.     Unlisted pers. and household items-                    $0.00                  $0.00            $0.00                $0.00           $0.00
        incl. health aids

16.     Cash                                                  $75.00                  $0.00           $75.00               $75.00           $0.00

17.     Deposits of money                                  $6,233.88                  $0.00        $6,233.88            $6,233.88           $0.00

18.     Bonds, mutual funds or publicly                        $0.00                  $0.00            $0.00                $0.00           $0.00
        traded stocks

19.     Non-pub. traded stock and int.                         $0.00                  $0.00            $0.00                $0.00           $0.00
        in businesses

20.     Govt. and corp. bonds and other                        $0.00                  $0.00            $0.00                $0.00           $0.00
        instruments

21.     Retirement or pension accounts                    $77,000.00                  $0.00       $77,000.00           $77,000.00           $0.00

22.     Security deposits and prepayments                      $0.00                  $0.00            $0.00                $0.00           $0.00

23.     Annuities                                              $0.00                  $0.00            $0.00                $0.00           $0.00

24.     Interests in an education IRA                          $0.00                  $0.00            $0.00                $0.00           $0.00

25.     Trusts, equit. or future int. (not in line 1)          $0.00                  $0.00            $0.00                $0.00           $0.00

26.     Patents, copyrights, and other                         $0.00                  $0.00            $0.00                $0.00           $0.00
        intellectual prop.
27.     Licenses, franchises, other                            $0.00                  $0.00            $0.00                $0.00           $0.00
        general intangibles

28.     Tax refunds owed to you                                $0.00                  $0.00            $0.00                $0.00           $0.00
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                                               UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF TEXAS
                                                        TYLER DIVISION
  IN RE: Bobby Stoker                                                                         CASE NO
         Stephanie Carol Cook Stoker
                                                                                             CHAPTER         7

                            SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                Continuation Sheet # 1
Exemption Totals by Category:
(Values and liens of surrendered property are NOT included in this section)                                      Scheme Selected: Federal
                                                           Gross                   Total             Total         Total Amount    Total Amount
No.     Category                                   Property Value          Encumbrances             Equity               Exempt     Non-Exempt


29.     Family support                                      $0.00                   $0.00           $0.00                $0.00           $0.00

30.     Other amounts someone owes you                      $0.00                   $0.00           $0.00                $0.00           $0.00

31.     Interests in insurance policies                     $0.00                   $0.00           $0.00                $0.00           $0.00

32.     Any int. in prop. due you from                      $0.00                   $0.00           $0.00                $0.00           $0.00
        someone who has died

33.     Claims vs. third parties, even                $14,600.00               $14,600.00           $0.00                $0.00           $0.00
        if no demand

34.     Other contin. and unliq. claims                     $0.00                   $0.00           $0.00                $0.00           $0.00
        of every nature

35.     Any financial assets you did                        $0.00                   $0.00           $0.00                $0.00           $0.00
        not already list

38.     Accounts rec. or commissions you                    $0.00                   $0.00           $0.00                $0.00           $0.00
        already earned

39.     Office equipment, furnishings,                      $0.00                   $0.00           $0.00                $0.00           $0.00
        and supplies

40.     Mach., fixt., equip., bus. suppl.,                  $0.00                   $0.00           $0.00                $0.00           $0.00
        tools of trade

41.     Inventory                                           $0.00                   $0.00           $0.00                $0.00           $0.00

42.     Interests in partnerships or                        $0.00                   $0.00           $0.00                $0.00           $0.00
        joint ventures

43.     Customer and mailing lists, or                      $0.00                   $0.00           $0.00                $0.00           $0.00
        other compilations

44.     Any business-related property not                   $0.00                   $0.00           $0.00                $0.00           $0.00
        already listed

47.     Farm animals                                        $0.00                   $0.00           $0.00                $0.00           $0.00

48.     Crops--either growing or harvested                  $0.00                   $0.00           $0.00                $0.00           $0.00

49.     Farm/fishing equip., impl., mach.,              $1,300.00                   $0.00       $1,300.00            $1,300.00           $0.00
        fixt., tools

50.     Farm and fishing supplies, chemicals,               $0.00                   $0.00           $0.00                $0.00           $0.00
        and feed

51.     Farm/commercial fishing-related prop.            $500.00                    $0.00         $500.00              $500.00           $0.00
        not listed

53.     Any other property of any kind not                  $0.00                   $0.00           $0.00                $0.00           $0.00
        already listed

                    TOTALS:                          $399,431.38              $394,838.75     $124,121.91          $117,100.12       $7,021.79
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                                              UNITED STATES BANKRUPTCY COURT
                                                  EASTERN DISTRICT OF TEXAS
                                                       TYLER DIVISION
  IN RE: Bobby Stoker                                                                              CASE NO
         Stephanie Carol Cook Stoker
                                                                                                  CHAPTER       7

                           SCHEDULE C-1 (SUPPLEMENTAL EXEMPTION ANALYSIS)
                                                                  Continuation Sheet # 2




Surrendered Property:
The following property is to be surrendered by the debtor. Although this property is NOT exempt, it is NOT considered "non-exempt" for purposes
of this analysis. The below listed items are to be returned to the lienholder.

  Property Description                                                                         Market Value                   Lien            Equity

Real Property
(None)
Personal Property
(None)


                   TOTALS:                                                                            $0.00                   $0.00               $0.00


Non-Exempt Property by Item:
The following property, or a portion thereof, is non-exempt.

  Property Description                                                     Market Value               Lien           Equity       Non-Exempt Amount

Real Property

Lot on Morton Street                                                           $1,000.00             $6.37          $993.63                 $993.63

3046 50th St, Dallas TX                                                       $12,500.00          $900.00       $11,600.00                 $6,028.16

Personal Property
(None)


                   TOTALS:                                                    $13,500.00           $906.37      $12,593.63                 $7,021.79




                                                                   Summary
            A. Gross Property Value (not including surrendered property)                                               $399,431.38

            B. Gross Property Value of Surrendered Property                                                                    $0.00

            C. Total Gross Property Value (A+B)                                                                        $399,431.38

            D. Gross Amount of Encumbrances (not including surrendered property)                                       $394,838.75

            E. Gross Amount of Encumbrances on Surrendered Property                                                            $0.00

            F. Total Gross Encumbrances (D+E)                                                                          $394,838.75

            G. Total Equity (not including surrendered property) / (A-D)                                               $124,121.91

            H. Total Equity in surrendered items (B-E)                                                                         $0.00

            I. Total Equity (C-F)                                                                                      $124,121.91

            J. Total Exemptions Claimed                        (Wild Card Used: $27,800.00, Available: $0.00)          $117,100.12

            K. Total Non-Exempt Property Remaining (G-J)                                                                $7,021.79
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  Fill in this information to identify your case:
  Debtor 1              Bobby                                         Stoker
                        First Name               Middle Name          Last Name

  Debtor 2            Stephanie                  Carol Cook           Stoker
  (Spouse, if filing) First Name                 Middle Name          Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                          Check if this is an
  (if known)
                                                                                                                          amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one                Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As             Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the            Do not deduct the      that supports this     portion
        creditor's name.                                                                    value of collateral    claim                  If any

  2.1                                               Describe the property that
                                                    secures the claim:                                $900.00             $12,500.00
Dallas County Tax Collector
Creditor's name
                                                    3046 5th St., Dallas
1201 Elm St., Ste 2600
Number       Street


                                                    As of the date you file, the claim is: Check all that apply.
                                                        Contingent
Dallas                   TX      75270                  Unliquidated
City                     State   ZIP Code
                                                        Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred           2019               Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                     $900.00

Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                           page 1
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                   Case number (if known)

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                            $68,084.00               $60,212.50        $7,871.50
Ford Motor Credit Co, LLC (p)                  2017 Ford F-250
Creditor's name
Nat'l Bk Srv Ctr--9930 Federal Dr
Number     Street
PO Box 62180
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Colorado Springs CO             80921-3664         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred          03/2018        Last 4 digits of account number        9     3     1    5

  2.3                                          Describe the property that
                                               secures the claim:                                $1,639.70           $174,550.00
Gregg County Tax Collector
Creditor's name
                                               Homestead: 908 Garden Drive
101 E. Methvin, Ste 215
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Longview                TX      75601-7235         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Ad Valorem Taxes
   to a community debt
Date debt was incurred          2019           Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $69,723.70

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                    Case number (if known)

                  Additional Page                                                       Column A               Column B              Column C
  Part 1:                                                                               Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                        Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                        value of collateral    claim                 If any

  2.4                                           Describe the property that
                                                secures the claim:                            $24,524.59              $24,500.00            $24.59
Harley Davidson Financial                       2017 Harley Davidson
Creditor's name
Attn: Bankruptcy Dept                           Streetglide Motorcycle
Number     Street
PO Box 22048
                                                As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Carson City             NV      89721               Unliquidated
City                    State   ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred          05/2017         Last 4 digits of account number        4     0     6    7

  2.5                                           Describe the property that
                                                secures the claim:                                  $30.60              $8,000.00
Harrison County Tax Collector
Creditor's name
                                                2205 Bledsoe
PO Box 967
Number     Street


                                                As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Marshall                TX      75671               Unliquidated
City                    State   ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          2019            Last 4 digits of account number        5     5     0    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $24,555.19

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 3
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                    Case number (if known)

                  Additional Page                                                       Column A               Column B              Column C
  Part 1:                                                                               Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                        Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                        value of collateral    claim                 If any

  2.6                                           Describe the property that
                                                secures the claim:                                     $6.37            $1,000.00
Harrison County Tax Collector                   Lot
Creditor's name
PO Box 967
Number     Street


                                                As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Marshall                TX      75671               Unliquidated
City                    State   ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          2019            Last 4 digits of account number        9     4     5    6

  2.7                                           Describe the property that
                                                secures the claim:                           $276,636.40              $174,550.00       $103,726.10
RMS
Creditor's name
                                                Homestead: 908 Garden Drive
5010 Linbar Drive Suite 100
Number     Street


                                                As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Nashville               TN      37211               Unliquidated
City                    State   ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred          2006            Last 4 digits of account number        R     M     S    T




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $276,642.77

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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                   Case number (if known)

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.8                                          Describe the property that
                                               secures the claim:                                $8,417.09             $7,825.00          $592.09
Wells Fargo Dealer Services       2014 Ford Focus
Creditor's name
Attn: Correspondence MAC T9017-026
Number     Street
PO Box 168048
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Irving                  TX      75016-8048         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Purchase Money
   to a community debt
Date debt was incurred          01/30/2019     Last 4 digits of account number        3     6     0    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                $8,417.09

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $380,238.75

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  Fill in this information to identify your case:
  Debtor 1              Bobby                                         Stoker
                        First Name              Middle Name           Last Name

  Debtor 2            Stephanie                 Carol Cook            Stoker
  (Spouse, if filing) First Name                Middle Name           Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number
                                                                                                                         Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim        Priority              Nonpriority
                                                                                                                         amount                amount

     2.1                                                                                                  $5,118.00           $5,118.00               $0.00
Internal Revenue Service (p)
Priority Creditor's Name                                      Last 4 digits of account number
PO Box 7346                                                   When was the debt incurred?        2017-2018
Number       Street
                                                              As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
Philadelphia                    PA      19101-7346                Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                             Type of PRIORITY unsecured claim:
     Debtor 1 only                                               Domestic support obligations
     Debtor 2 only                                               Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                  Claims for death or personal injury while you were
     At least one of the debtors and another                     intoxicated
     Check if this claim is for a community debt                 Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                      Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                              $97.45
American Express(p)                                         Last 4 digits of account number         3 7        9     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2001
PO Box 981535
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998-1535
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $167.00
American Express(p)                                         Last 4 digits of account number         6 0        5     3
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2006
PO Box 981535
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
El Paso                         TX      79998-1535
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 2
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.3                                                                                                                                       $1,462.00
Bank of America (p)                                        Last 4 digits of account number       6 4       3    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2011
PO Box 982238
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
El Paso                         TX      79998-2238
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                       $1,042.00
Bank of America (p)                                        Last 4 digits of account number       2 6       7    4
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2012
PO Box 982238
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
El Paso                         TX      79998-2238
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                                         $650.00
Barclays Bank Delaware                                     Last 4 digits of account number       2 5       2    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2015
Attn: Correspondence
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 8801                                                    Contingent
                                                               Unliquidated
                                                               Disputed
Wilmington                      DE      19899
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             page 3
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.6                                                                                                                                     $30,331.00
BBVA Compass                                               Last 4 digits of account number       4 6       3    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2017
Attn: Bankruptcy
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 10566                                                   Contingent
                                                               Unliquidated
                                                               Disputed
Birmingham                      AL      35296
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Loan
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                       $1,834.00
Capital One (p)                                            Last 4 digits of account number       5 0       7    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2015
Attn: Bankruptcy
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 30285                                                   Contingent
                                                               Unliquidated
                                                               Disputed
Salt Lake City                  UT      84130-0285
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                       $7,422.00
Care Credit - Synchrony Bank(p)                            Last 4 digits of account number       0 9       5    4
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2014
PO Box 960061
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Orlando                         FL      32896-0061
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             page 4
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

   4.9                                                                                                                                           $0.00
CenterPoint Energy                                         Last 4 digits of account number       9 3       6    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2004
PO Box 2628
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Houston                         TX      77252-2628
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Utilities
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                                         $389.08
Citibank - Goodyear                                        Last 4 digits of account number       9 6       8    6
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2011
Citibank Corp/Centralized Bankruptcy
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 790034                                                  Contingent
                                                               Unliquidated
                                                               Disputed
Saint Louis                     MO      63179
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                                       $6,863.00
Citicards (p)                                              Last 4 digits of account number       6 4       1    1
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2011
General Correspondence
Number        Street                                       As of the date you file, the claim is: Check all that apply.
Citibank Customer Service                                      Contingent
PO Box 6500                                                    Unliquidated
                                                               Disputed
Sioux Falls                     SD      57117
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.12                                                                                                                                          $77.00
Comenity Capital Bank(p) - Alon                            Last 4 digits of account number       3 7       8    4
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2001
Bankruptcy Dept
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 183043                                                  Contingent
                                                               Unliquidated
                                                               Disputed
Columbus                        OH      43218-3043
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                                         $849.00
Dillard's/Wells Fargo Bank                                 Last 4 digits of account number       3 4       1    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2014
PO Box 51193
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Los Angeles                     CA      90051
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                                     $11,905.00
Discover Financial Services LLC (p)                        Last 4 digits of account number       2 1       8    7
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2014
PO Box 3025
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
New Albany                      OH      43054-3025
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.15                                                                                                                                       $2,483.00
Discover Financial Services LLC (p)                        Last 4 digits of account number       1 8       1    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2017
PO Box 3025
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
New Albany                      OH      43054-3025
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                                          $75.00
First National Bank of Omaha                               Last 4 digits of account number       5 5       8    9
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2017
1620 Dodge Street Stop Code 3105
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Omaha                           NE      68197
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                         $257.00
Home Depot (p)                                             Last 4 digits of account number       8 1       4    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2012
Corporate Office
Number        Street                                       As of the date you file, the claim is: Check all that apply.
2455 Paces Ferry Road                                          Contingent
                                                               Unliquidated
                                                               Disputed
Atlanta                         GA      30339
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.18                                                                                                                                       $6,985.00
OneMain Financial(p)                                       Last 4 digits of account number       8 4       9    5
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2018
PO Box 6042
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Sioux Falls                     SD      57117-6042
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Loan
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                       $1,283.00
Sam's Club/Synchrony Bank (p)                              Last 4 digits of account number       7 9       6    2
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2004
Attn: Bankruptcy Dept
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                  Contingent
                                                               Unliquidated
                                                               Disputed
Orlando                         FL      32896-5060
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                           $0.00
Target Bankruptcy Dept (p)                                 Last 4 digits of account number       7 3       8    3
Nonpriority Creditor's Name
                                                           When was the debt incurred?         1995
PO Box 9475
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Minneapolis                     MN      55440
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.21                                                                                                                                         $300.00
Texas Att Gen Child Support Div(p)                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2019
Child Support Division Dallas Region IV
Number        Street                                       As of the date you file, the claim is: Check all that apply.
Bankruptcy Reporting Contact                                   Contingent
OAG/CSD/Mail Code 38                                           Unliquidated
                                                               Disputed
Austin                          TX      78711-2017
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Child support overpayment
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                                       $1,644.00
US Bank (p)                                                Last 4 digits of account number       0 1       0    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2017
PO Box 5229
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Cincinnati                      OH      45201-5229
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                                       $1,168.00
US Bank (p) - Academy                                      Last 4 digits of account number       4 1       9    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2016
PO Box 5229
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
Cincinnati                      OH      45201-5229
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes


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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                          Total claim
previous page.

  4.24                                                                                                                                       $1,727.00
USAA Federal Savings Bank                                  Last 4 digits of account number       1 5       6    8
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2014
10750 McDermott Freeway
Number        Street                                       As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
San Antonio                     TX      78288-0570
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                                       $2,961.00
Walmart - Synchrony Bank (p)                               Last 4 digits of account number       6 2       2    0
Nonpriority Creditor's Name
                                                           When was the debt incurred?         2006
Attn: Bankruptcy Dept
Number        Street                                       As of the date you file, the claim is: Check all that apply.
PO Box 965060                                                  Contingent
                                                               Unliquidated
                                                               Disputed
Orlando                         FL      32896-5060
City                            State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                              Student loans
   Debtor 1 only
                                                              Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                              that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                              Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                              Other. Specify
       Check if this claim is for a community debt               Credit Card
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            page 10
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                   Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


American Express(p)                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO Box 981535                                                Line         of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number        6    8    1    3
El Paso                         TX        79998-1535
City                            State     ZIP Code


Attorney General of the United States(p)                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
950 Pennsylvania Ave, NW                                     Line    2.1 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Washington                      DC        20530-0001
City                            State     ZIP Code


Bank of America                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
100 North Tryon St.                                          Line    4.4 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Charlotte                       NC        28202
City                            State     ZIP Code


Bank of America                                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
100 North Tryon St.                                          Line    4.3 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Charlotte                       NC        28202
City                            State     ZIP Code


Capital Management Services, LP                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
698 1/2 South Ogden St                                       Line   4.15 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                                             Last 4 digits of account number
Buffalo                         NY        14206-2317
City                            State     ZIP Code




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                             page 11
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                    Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

Internal Revenue Service                                    On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Special Procedures Branch                                   Line    2.1 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
1100 Commerce MC 5020 DAL                                                                        Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
Dallas                         TX        75242
City                           State     ZIP Code


United States Attorney's Office                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Internal Revenue Service                                    Line    2.1 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
110 North College Avenue                                                                         Part 2: Creditors with Nonpriority Unsecured Claims

Suite 700
                                                            Last 4 digits of account number
Tyler                          TX        75702-0204
City                           State     ZIP Code




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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims      6a. Domestic support obligations                                                    6a.                     $0.00
from Part 1
                  6b. Taxes and certain other debts you owe the government                            6b.              $5,118.00

                  6c. Claims for death or personal injury while you were intoxicated                  6c.                     $0.00

                  6d. Other. Add all other priority unsecured claims. Write that amount here.         6d.   +                 $0.00


                  6e. Total.     Add lines 6a through 6d.                                             6d.              $5,118.00




                                                                                                                Total claim

Total claims      6f.   Student loans                                                                 6f.                     $0.00
from Part 2
                  6g. Obligations arising out of a separation agreement or divorce                    6g.                     $0.00
                      that you did not report as priority claims

                  6h. Debts to pension or profit-sharing plans, and other similar                     6h.                     $0.00
                      debts

                  6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.    6i.   +         $81,971.53


                  6j.   Total.   Add lines 6f through 6i.                                             6j.             $81,971.53




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       page 13
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 Fill in this information to identify your case:
 Debtor 1            Bobby                                       Stoker
                     First Name             Middle Name          Last Name

 Debtor 2            Stephanie              Carol Cook           Stoker
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                           Schedule G: Executory Contracts and Unexpired Leases                                                page 1
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 Fill in this information to identify your case:
 Debtor 1            Bobby                                              Stoker
                     First Name              Middle Name                Last Name

 Debtor 2            Stephanie               Carol Cook                 Stoker
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                        Check if this is an
 (if known)
                                                                                                                        amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?         (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
         No. Go to line 3.
         Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
             Yes
              In which community state or territory did you live?                   Texas      Fill in the name and current address of that person.

              Stephanie Carol Cook Stoker
              Name of your spouse, former spouse, or legal equivalent
              908 Garden Drive
              Number        Street


              Longview                                        TX              75603
              City                                            State           ZIP Code

3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:




Official Form 106H                                             Schedule H: Your Codebtors                                                             page 1
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 Fill in this information to identify your case:
     Debtor 1              Bobby                                          Stoker
                           First Name             Middle Name             Last Name                           Check if this is:
     Debtor 2              Stephanie              Carol Cook              Stoker                                   An amended filing
     (Spouse, if filing)   First Name             Middle Name             Last Name
                                                                                                                   A supplement showing postpetition
     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS
                                                                                                                   chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                   MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                                Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status                Employed                                           Employed
      with information about                                             Not employed                                       Not employed
      additional employers.
                                        Occupation                Debtor is Retired                                  Sr. Analyst Bus. Operations
      Include part-time, seasonal,
      or self-employed work.            Employer's name                                                              Verizon

      Occupation may include            Employer's address                                                           119 W Tyler Street
      student or homemaker, if it                                 Number Street                                      Number Street
      applies.
                                                                                                                     Ste 102




                                                                                                                     Longview                 TX      75601
                                                                  City                         State    Zip Code     City                     State   Zip Code

                                        How long employed there?                                                             27 Years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1            For Debtor 2 or
                                                                                                                       non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                         $0.00             $5,215.69
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                         3.   +               $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                    4.                   $0.00             $5,215.69




Official Form 106I                                               Schedule I: Your Income                                                                  page 1
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Debtor 1        Bobby Stoker
Debtor 2        Stephanie Carol Cook Stoker                                                                                           Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00       $5,215.69
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00              $988.89
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00              $312.93
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00              $244.40
     5e. Insurance                                                                                              5e.                  $0.00              $252.07
     5f. Domestic support obligations                                                                           5f.                  $0.00                $0.00
     5g. Union dues                                                                                             5g.                  $0.00                $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                       5h. +                $0.00               $91.49
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00            $1,889.78
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00            $3,325.91
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.               $0.00                    $0.00
     8e. Social Security                                                                                        8e.           $2,026.70                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify: Net Rental Income                                                                             8h. +            $389.21                   $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $2,415.91                    $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,415.91 +         $3,325.91 =                                                        $5,741.82
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $5,741.82
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Child support ended May 17, 2019. Renter in Bledso moved out 05/31. Repairs mandatory before can
        Yes. Explain: be rented to new tenant through housing authority.




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                   Case number (if known)


                                                                                  For Debtor 1       For Debtor 2 or
                                                                                                     non-filing spouse
5h. Other Payroll Deductions (details)
     Life Insurance                                                                                          $76.00
     Disability Insurance                                                                                    $15.49

                                                                        Totals:           $0.00              $91.49




Official Form 106I                                        Schedule I: Your Income                                            page 3
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 Fill in this information to identify your case:
                                                                                                          Check if this is:
     Debtor 1              Bobby                                          Stoker                              An amended filing
                           First Name              Middle Name            Last Name                           A supplement showing postpetition
                                                                                                              chapter 13 expenses as of the
     Debtor 2              Stephanie               Carol Cook             Stoker
     (Spouse, if filing)   First Name              Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:     EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                   No
                                                Yes. Fill out this information          Dependent's relationship to    Dependent's       Does dependent
      Do not list Debtor 1 and                                                          Debtor 1 or Debtor 2           age               live with you?
                                                for each dependent...................................
      Debtor 2.                                                                                                                              No
                                                                                   Granddaughter                       6
                                                                                                                                             Yes
      Do not state the dependents'
                                                                                                                                             No
      names.                                                                       Daughter                            18
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                       Your expenses

4.    The rental or home ownership expenses for your residence.                                                       4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                           4a.                     $134.00

      4b. Property, homeowner's, or renter's insurance                                                                4b.                     $275.00

      4c. Home maintenance, repair, and upkeep expenses                                                               4c.                     $200.00
      4d. Homeowner's association or condominium dues                                                                 4d.




 Official Form 106J                                              Schedule J: Your Expenses                                                         page 1
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                     Case number (if known)

                                                                                                                   Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                              5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                                      6a.                     $250.00
     6b. Water, sewer, garbage collection                            (See continuation sheet(s) for details) 6b.                      $67.00
     6c. Telephone, cell phone, Internet, satellite, and             (See continuation sheet(s) for details) 6c.                     $330.00
         cable services
     6d. Other. Specify:                                                                                     6d.

7.   Food and housekeeping supplies                                                                          7.                      $800.00
8.   Childcare and children's education costs                                        (Child Care Expenses) 8.                         $70.00
9.   Clothing, laundry, and dry cleaning                             (See continuation sheet(s) for details) 9.                      $260.00
10. Personal care products and services                                                                      10.                     $200.00
11. Medical and dental expenses                                                                              11.                     $250.00
12. Transportation. Include gas, maintenance, bus or train                                                   12.                     $250.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                            13.
    magazines, and books
14. Charitable contributions and religious donations                                                         14.                     $150.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                                   15a.                     $35.88
     15b.   Health insurance                                                                                 15b.

     15c.   Vehicle insurance                                                                                15c.                    $327.79
     15d.   Other insurance. Specify:                                                                        15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                                 16.

17. Installment or lease payments:

     17a.   Car payments for Vehicle 1      2014 Ford Focus                                                  17a.                    $187.00
     17b.   Car payments for Vehicle 2      2017 Harley Davidson Streetglide Motorcy                         17b.                    $475.00
     17c.   Other. Specify: 2017 Ford F-250                                                                  17c.                   $1,274.00
     17d.   Other. Specify:                                                                                  17d.

18. Your payments of alimony, maintenance, and support that you did not report as                            18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                                 19.




 Official Form 106J                                           Schedule J: Your Expenses                                                 page 2
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                      Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: SS Medicare Insurance                                                                    21.     +               $135.50
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                   $5,671.17
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                   $5,671.17

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                   $5,741.82
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.    –              $5,671.17
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $70.65

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                            Schedule J: Your Expenses                                                page 3
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                    Case number (if known)


6b. Water, sewer, garbage collection (details):
     Water & Sewer                                                                                                             $40.00
     Trash Pickup                                                                                                              $27.00

                                                                                                  Total:                       $67.00


6c. Telephone, cell phone, Internet, satellite, and cable services (details):
     Telephone                                                                                                                 $30.00
     Cell Phone                                                                                                               $100.00
     Internet                                                                                                                  $50.00
     Cable/Satellite TV                                                                                                       $150.00

                                                                                                  Total:                      $330.00


9.   Clothing, laundry, and dry cleaning (details):
     Clothing                                                                                                                 $240.00
     Laundry & Dry Cleaning                                                                                                    $20.00

                                                                                                  Total:                      $260.00




 Official Form 106J                                         Schedule J: Your Expenses                                            page 4
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 Fill in this information to identify your case:
 Debtor 1                Bobby                                                       Stoker
                         First Name                    Middle Name                   Last Name

 Debtor 2            Stephanie                         Carol Cook                    Stoker
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $196,050.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $203,381.38
     1b. Copy line 62, Total personal property, from Schedule A/B......................................................................................................................................................


                                                                                                                                                                            $399,431.38
     1c. Copy line 63, Total of all property on Schedule A/B................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $380,238.75
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                          $5,118.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $81,971.53
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $467,328.28




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $5,741.82
     Copy your combined monthly income from line 12 of Schedule I....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $5,671.17




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                  Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                       $10,043.47


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                           Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                    $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                      $5,118.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                  $0.00


     9d. Student loans. (Copy line 6f.)                                                                                   $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                          $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +                  $0.00


     9g. Total.    Add lines 9a through 9f.                                                                         $5,118.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                 page 2
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 Fill in this information to identify your case:
 Debtor 1          Bobby                                       Stoker
                   First Name             Middle Name          Last Name

 Debtor 2            Stephanie            Carol Cook           Stoker
 (Spouse, if filing) First Name           Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                              Check if this is an
 (if known)
                                                                                                              amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                      12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



              Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

         No

         Yes. Name of person                                                                  Attach Bankruptcy Petition Preparer's Notice,
                                                                                              Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Bobby Stoker                                       X /s/ Stephanie Carol Cook Stoker
        Bobby Stoker, Debtor 1                                  Stephanie Carol Cook Stoker, Debtor 2

        Date 06/10/2019                                         Date 06/10/2019
             MM / DD / YYYY                                          MM / DD / YYYY




Official Form 106Dec                          Declaration About an Individual Debtor's Schedules                                        page 1
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 Fill in this information to identify your case:
 Debtor 1             Bobby                                      Stoker
                      First Name            Middle Name          Last Name

 Debtor 2            Stephanie              Carol Cook           Stoker
 (Spouse, if filing) First Name             Middle Name          Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                 Check if this is an
 (if known)
                                                                                                                 amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                    Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                      Debtor 1                                          Debtor 2

                                                     Sources of income         Gross income            Sources of income         Gross income
                                                     Check all that apply.     (before deductions      Check all that apply.     (before deductions
                                                                               and exclusions                                    and exclusions

From January 1 of the current year until                Wages, commissions,                               Wages, commissions,            $43,682.25
the date you filed for bankruptcy:                      bonuses, tips                                     bonuses, tips
                                                        Operating a business                              Operating a business


For the last calendar year:                             Wages, commissions,                               Wages, commissions,            $91,793.00
                                                        bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                  Operating a business                              Operating a business


For the calendar year before that:                      Wages, commissions,                               Wages, commissions,            $59,519.00
                                                        bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                  Operating a business                              Operating a business

                                                      Debtor 1                                          Debtor 2

                                                     Sources of income         Gross income            Sources of income         Gross income
                                                     Check all that apply.     (before deductions      Check all that apply.     (before deductions
                                                                               and exclusions                                    and exclusions

From January 1 of the current year until                Wages, commissions,                               Wages, commissions,
the date you filed for bankruptcy:                      bonuses, tips                                     bonuses, tips
                                                        Operating a business                              Operating a business


For the last calendar year:                             Wages, commissions,                               Wages, commissions,
                                                        bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                  Operating a business                              Operating a business


For the calendar year before that:                      Wages, commissions,                               Wages, commissions,               $650.00
                                                        bonuses, tips                                     bonuses, tips
(January 1 to December 31, 2017 )
                                  YYYY                  Operating a business                              Operating a business




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 2
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                  Case number (if known)

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                          Debtor 2

                                                   Sources of income          Gross income           Sources of income         Gross income
                                                   Describe below.            from each source       Describe below.           from each source
                                                                              (before deductions                               (before deductions
                                                                              and exclusions                                   and exclusions

From January 1 of the current year until           Rental                             $2,260.00
the date you filed for bankruptcy:                 Social Security                   $10,013.35



For the last calendar year:                        IRA Distribution                  $20,506.00
(January 1 to December 31, 2018 )                  Rental                             $5,424.00
                                YYYY               Social Security                   $23,652.00


For the calendar year before that:                 Taxable Interest                      $54.00
(January 1 to December 31, 2017 )                  IRA Distribution                   $3,076.00
                                YYYY               Rental                             $5,424.00
                                                   Social Security                   $23,184.00




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 3
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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                  Case number (if known)


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Ford Motor Credit Co, LLC (p)                                                    $3,822.00           $68,084.00             Mortgage
Creditor's name                                                                                                             Car
                                                              2/2019-4/2019 Reg. Payments of $1,274/mo
Nat'l Bk Srv Ctr--9930 Federal Dr                                                                                           Credit card
Number     Street
                                                                                                                            Loan repayment
PO Box 62180
                                                                                                                            Suppliers or vendors
Colorado Springs                    CO       80921-3664                                                                     Other
City                                State    ZIP Code

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Harley Davidson Financial                                                        $1,425.00           $24,524.59             Mortgage
Creditor's name                                                                                                             Car
                                                              2/2019-4/2019 Reg. Payments of $475/mo
Attn: Bankruptcy Dept                                                                                                       Credit card
Number     Street
                                                                                                                            Loan repayment
PO Box 22048
                                                                                                                            Suppliers or vendors
Carson City                         NV       89721                                                                          Other
City                                State    ZIP Code




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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                  Case number (if known)

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




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Debtor 1         Bobby Stoker
Debtor 2         Stephanie Carol Cook Stoker                                                     Case number (if known)

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities                                  Describe what you contributed                 Date you            Value
that total more than $600                                            Husband contributes about $100                contributed
St. Anthony's Church                                                 month and then special offerings on                  Various          $2,400.00
Charity's Name                                                       occasion.

Number     Street




Longview                                 TX
City                                     State       ZIP Code

Gifts or contributions to charities                                  Describe what you contributed                 Date you            Value
that total more than $600                                            Joint Debtor avg about $50 month              contributed
Pilgrim Rest                                                         and then occasional special                          Various          $1,200.00
Charity's Name                                                       offerings.

Number     Street




Dallas                                   TX
City                                     State       ZIP Code


  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

Describe the property you lost and how                  Describe any insurance coverage for the loss             Date of your          Value of property
the loss occurred                                       Include the amount that insurance has paid. List pending loss                  lost
                                                        insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                          04/2018          $14,600.00
Roof Damage to homestead caused by                      Triple AAA Insurance paid $14,600.
hail.
Describe the property you lost and how                  Describe any insurance coverage for the loss             Date of your          Value of property
the loss occurred                                       Include the amount that insurance has paid. List pending loss                  lost
                                                        insurance claims on line 33 of Schedule A/B: Property.
                                                                                                                          04/2018          $6,000.00
Hail damage to Bledso property.                         Insurance paid $6,000 which was paid to
                                                        roofer




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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                     Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred         Date payment       Amount of
Carol Cross Stone                                      Attorney Fee - $2,000                                     or transfer was    payment
Person Who Was Paid                                    Filing Fee - $335                                         made

1118 Judson Road                                                                                                 3/27/19-4/22/19        $2,335.00
Number      Street




Longview                      TX       75601-5117
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                       Description and value of any property transferred         Date payment       Amount of
Mesquite Group (p)                                     Credit Counseling Course - $24                            or transfer was    payment
Person Who Was Paid                                                                                              made

PO Box 54006                                                                                                        04/11/2019           $24.00
Number      Street




Hurst                         TX       76054-4006
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                     Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:        List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:        Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                               Where is the property?                           Describe the property                   Value

Anthony Coleman                                                                                 3 horses - Mr. Coleman cares
Owner's Name                                                                                    for his horses which stay in
                                               Debtors' home                                    Debtors' pasture. Unknown
Number      Street                             Number     Street                                value.




City                      State   ZIP Code     City                      State   ZIP Code




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Debtor 1        Bobby Stoker
Debtor 2        Stephanie Carol Cook Stoker                                                     Case number (if known)

  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                  Describe the nature of the business                 Employer Identification number
dba Cook Mobile Notary Service                    Occasional mobile notary                            Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN:           –
                                                  Name of accountant or bookkeeper
Number       Street
                                                                                                      Dates business existed

                                                                                                      From    01/01/2017         To 12/31/2017

City                       State   ZIP Code




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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                  Case number (if known)

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Bobby Stoker                                         X /s/ Stephanie Carol Cook Stoker
   Bobby Stoker, Debtor 1                                       Stephanie Carol Cook Stoker, Debtor 2

   Date       06/10/2019                                        Date     06/10/2019

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                          Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                 Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:
 Debtor 1              Bobby                                      Stoker
                       First Name           Middle Name           Last Name

 Debtor 2            Stephanie              Carol Cook            Stoker
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number
                                                                                                                               Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Ford Motor Credit Co, LLC (p)                         Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2017 Ford F-250                                       Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Harley Davidson Financial                             Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2017 Harley Davidson Streetglide                      Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
                        Motorcycle
      securing debt:                                                          Retain the property and [explain]:


      Creditor's        Harrison County Tax Collector                         Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Lot                                                   Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:




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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                 Case number (if known)

    Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                      property that secures a debt?                as exempt on Schedule C?
    Creditor's         RMS                                                 Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.           Yes
    Description of     Homestead: 908 Garden Drive                         Retain the property and enter into a
    property                                                               Reaffirmation Agreement.
    securing debt:                                                         Retain the property and [explain]:


    Creditor's         Wells Fargo Dealer Services                         Surrender the property.                      No
    name:                                                                  Retain the property and redeem it.           Yes
    Description of     2014 Ford Focus                                     Retain the property and enter into a
    property                                                               Reaffirmation Agreement.
    securing debt:                                                         Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                              Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Bobby Stoker                                      X /s/ Stephanie Carol Cook Stoker
   Bobby Stoker, Debtor 1                                    Stephanie Carol Cook Stoker, Debtor 2

   Date 06/10/2019                                           Date 06/10/2019
        MM / DD / YYYY                                            MM / DD / YYYY




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                                         UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF TEXAS
                                                  TYLER DIVISION
  IN RE:   Bobby Stoker                                                                 CASE NO
           Stephanie Carol Cook Stoker
                                                                                       CHAPTER         7

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/10/2019                                               Signature    /s/ Bobby Stoker
                                                                         Bobby Stoker



Date 6/10/2019                                               Signature    /s/ Stephanie Carol Cook Stoker
                                                                         Stephanie Carol Cook Stoker
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                            American Express(p)
                            PO Box 981535
                            El Paso, TX 79998-1535



                            Attorney General of the United States(p)
                            950 Pennsylvania Ave, NW
                            Washington DC 20530-0001



                            Bank of America
                            100 North Tryon St.
                            Charlotte, NC 28202



                            Bank of America (p)
                            PO Box 982238
                            El Paso, TX 79998-2238



                            Barclays Bank Delaware
                            Attn: Correspondence
                            PO Box 8801
                            Wilmington, DE 19899


                            BBVA Compass
                            Attn: Bankruptcy
                            PO Box 10566
                            Birmingham, AL 35296


                            Capital Management Services, LP
                            698 1/2 South Ogden St
                            Buffalo, NY 14206-2317



                            Capital One (p)
                            Attn: Bankruptcy
                            PO Box 30285
                            Salt Lake City, UT 84130-0285


                            Care Credit - Synchrony Bank(p)
                            PO Box 960061
                            Orlando, FL 32896-0061
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                            CenterPoint Energy
                            PO Box 2628
                            Houston, TX 77252-2628



                            Citibank - Goodyear
                            Citibank Corp/Centralized Bankruptcy
                            PO Box 790034
                            Saint Louis, MO 63179


                            Citicards (p)
                            General Correspondence
                            Citibank Customer Service
                            PO Box 6500
                            Sioux Falls, SD 57117

                            Comenity Capital Bank(p) - Alon
                            Bankruptcy Dept
                            PO Box 183043
                            Columbus, OH 43218-3043


                            Dallas County Tax Collector
                            1201 Elm St., Ste 2600
                            Dallas TX 75270



                            Dillard's/Wells Fargo Bank
                            PO Box 51193
                            Los Angeles, CA 90051



                            Discover Financial Services LLC (p)
                            PO Box 3025
                            New Albany, OH 43054-3025



                            First National Bank of Omaha
                            1620 Dodge Street Stop Code 3105
                            Omaha, NE 68197



                            Ford Motor Credit Co, LLC (p)
                            Nat'l Bk Srv Ctr--9930 Federal Dr
                            PO Box 62180
                            Colorado Springs, CO 80921-3664
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                            Gregg County Tax Collector
                            101 E. Methvin, Ste 215
                            Longview, TX 75601-7235



                            Harley Davidson Financial
                            Attn: Bankruptcy Dept
                            PO Box 22048
                            Carson City, NV 89721


                            Harrison County Tax Collector
                            PO Box 967
                            Marshall, TX 75671



                            Home Depot (p)
                            Corporate Office
                            2455 Paces Ferry Road
                            Atlanta, GA 30339


                            Internal Revenue Service
                            Special Procedures Branch
                            1100 Commerce MC 5020 DAL
                            Dallas, TX 75242


                            Internal Revenue Service (p)
                            PO Box 7346
                            Philadelphia, PA 19101-7346



                            Internal Revenue Service (p)
                            PO Box 7346
                            Philadelphia PA 19101-7346



                            OneMain Financial(p)
                            PO Box 6042
                            Sioux Falls, SD 57117-6042



                            RMS
                            5010 Linbar Drive Suite 100
                            Nashville, TN 37211
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                            Sam's Club/Synchrony Bank (p)
                            Attn: Bankruptcy Dept
                            PO Box 965060
                            Orlando, FL 32896-5060


                            Target Bankruptcy Dept (p)
                            PO Box 9475
                            Minneapolis, MN 55440



                            Texas Att Gen Child Support Div(p)
                            Child Support Division Dallas Region IV
                            Bankruptcy Reporting Contact
                            OAG/CSD/Mail Code 38
                            Austin, TX 78711-2017

                            United States Attorney's Office
                            Internal Revenue Service
                            110 North College Avenue
                            Suite 700
                            Tyler, TX 75702-0204

                            US Bank (p)
                            PO Box 5229
                            Cincinnati, OH 45201-5229



                            US Bank (p) - Academy
                            PO Box 5229
                            Cincinnati, OH 45201-5229



                            USAA Federal Savings Bank
                            10750 McDermott Freeway
                            San Antonio, TX 78288-0570



                            Walmart - Synchrony Bank (p)
                            Attn: Bankruptcy Dept
                            PO Box 965060
                            Orlando, FL 32896-5060


                            Wells Fargo Dealer Services
                            Attn: Correspondence MAC T9017-026
                            PO Box 168048
                            Irving, TX 75016-8048
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Bobby                                       Stoker
                    First Name             Middle Name          Last Name                      1. There is no presumption of abuse.

 Debtor 2            Stephanie             Carol Cook           Stoker                         2. The calculation to determine if a presumption
 (Spouse, if filing) First Name            Middle Name          Last Name                         of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                            $0.00          $8,993.26
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00            $661.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
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Debtor 1        Bobby Stoker
Debtor 2        Stephanie Carol Cook Stoker                                                                                         Case number (if known)

                                                                                                                                         Column A        Column B
                                                                                                                                         Debtor 1        Debtor 2 or
                                                                                                                                                         non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                            $0.00                          $0.00
     deductions)

     Ordinary and necessary operating                     –                $0.00         –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                   $0.00                          $0.00 here                             $0.00            $0.00
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all                                        $452.00                            $0.00
     deductions)

     Ordinary and necessary operating                     –              $62.79          –                $0.00
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                 $389.21                            $0.00 here                           $389.21            $0.00
     other real property

7.   Interest, dividends, and royalties                                                                                                          $0.00            $0.00
8.   Unemployment compensation                                                                                                                   $0.00            $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                       $0.00            $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                      +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                    $389.21   +   $9,654.26    =    $10,043.47
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total current
                                                                                                                                                                             monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                   page 2
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                                        Case number (if known)

 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.                                                                                                                                                                     $10,043.47
            Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                             X       12

    12b.    The result is your annual income for this part of the form.                                                                                         12b.     $120,521.64

13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                               Texas

    Fill in the number of people in your household.                                        4

                                                                                                                                                                       $83,960.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Bobby Stoker                                                                         X    /s/ Stephanie Carol Cook Stoker
           Bobby Stoker, Debtor 1                                                                        Stephanie Carol Cook Stoker, Debtor 2

           Date 6/10/2019                                                                                Date 6/10/2019
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




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 Fill in this information to identify your case:                                                                                Check the appropriate box as directed
                                                                                                                                in lines 40 or 42:
 Debtor 1                 Bobby                                                              Stoker
                          First Name                        Middle Name                      Last Name                           According to the calculation required by this
                                                                                                                                 Statement:
 Debtor 2            Stephanie                              Carol Cook                       Stoker
 (Spouse, if filing) First Name                             Middle Name                      Last Name
                                                                                                                                      1. There is no presumption of abuse.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                                      2. There is a presumption of abuse.
 Case number
 (if known)
                                                                                                                                     Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                                                       04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form
122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:           Determine Your Adjusted Income

1.   Copy your total current monthly income
                                         ...............................................................................................................................
                                                                      Copy line 11 from Official Form 122A-1 here                                                        1.       $10,043.47

2.   Did you fill out Column B in Part 1 of Form 122A-1?

           No. Fill in $0 for the total on line 3.

           Yes. Is your spouse filing with you?

                   No. Go to line 3.

                   Yes. Fill in $0 for the total on line 3.

3.   Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for
     the household expenses of you or your dependents. Follow these steps:

     On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT regularly used
     for the household expenses of you or your dependents?

           No. Fill in $0 for the total on line 3.

           Yes. Fill in the information below:

           State each purpose for which the income was used
                                                                                                            Fill in the amount you
           For example, the income is used to pay your spouse's tax
                                                                                                            are subtracting from
           debt or to support people other than you or your
                                                                                                            your spouse's income
           dependents




                                                                                                           +
         Total ........................................................................................................   $0.00 Copy
                                                                                                                                 ........................................
                                                                                                                                         total here                           –        $0.00


4.   Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                $10,043.47




Official Form 122A-2                                                             Chapter 7 Means Test Calculation                                                                      page 1
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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                                                Case number (if known)

 Part 2:         Calculate Your Deductions from Your Income
The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use
these amounts to answer the questions in lines 6-15. To find the IRS standards, go online using the link
specified in the separate instructions for this form. This information may also be available at the bankruptcy
clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will
use some of your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted
from your spouse's income in line 3 and do not deduct any operating expenses that you subtracted from income in lines 5
and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.

 5.   The number of people used in determining your deductions from income

      Fill in the number of people who could be claimed as exemptions on your federal income tax
      return, plus the number of any additional dependents whom you support. This number may                                                                   4
      be different from the number of people in your household.



 National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


 6.   Food, clothing and other items: Using the number of people you entered in line 5 and the IRS National Standards,                                                                $1,786.00
      fill in the dollar amount for food, clothing, and other items.

 7.   Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National
      Standards, fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories--
      people who are under 65 and people who are 65 or older--because older people have a higher IRS allowance for
      health care costs. If your actual expenses are higher than this IRS amount, you may deduct the additional amount on
      line 22.

        People who are under 65 years of age

      7a. Out-of-pocket health care allowance per person                                        $55.00

      7b. Number of people who are under 65                                           X                  3

      7c. Subtotal. Multiply line 7a by line 7b.                                              $165.00 Copy here                                 $165.00

        People who are 65 years of age or older

      7d. Out-of-pocket health care allowance per person                                      $114.00

      7e. Number of people who are 65 or older                                        X                  1

      7f.    Subtotal. Multiply line 7d by line 7e.                                           $114.00 Copy here                      +          $114.00
                                                                                                                                                                Copy total
                                                                                                                                                                here
                                                                                                                                              $279.00
      7g. Total. Add lines 7c and 7f................................................................................................................................
                                                                                                                              ................................................. 7g.    $279.00




Official Form 122A-2                                                       Chapter 7 Means Test Calculation                                                                               page 2
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Debtor 1     Bobby Stoker
Debtor 2     Stephanie Carol Cook Stoker                                                     Case number (if known)

 Local Standards             You must use the IRS Local Standards to answer the questions in lines 8-15.

 Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing
 for bankruptcy purposes into two parts:

      Housing and utilities -- Insurance and operating expenses
      Housing and utilities -- Mortgage or rent expenses

 To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
 To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be
 available at the bankruptcy clerk's office.

 8.    Housing and utilities -- Insurance and operating expenses: Using the number of people you entered in line 5,                     $643.00
       fill in the dollar amount listed for your county for insurance and operating expenses.

 9.    Housing and utilities -- Mortgage or rent expenses:

       9a. Using the number of people you entered in line 5, fill in the dollar amount listed            $1,141.00
           for your county for mortgage or rent expenses.

       9b. Total average monthly payment for all mortgages and other debts secured by
           your home.

            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

             Name of the creditor                                 Average monthly
                                                                  payment




                                                              +
                                                                                                                    Repeat this
                                                                               Copy                                 amount on
                             Total average monthly payment               $0.00 here                 –         $0.00 line 33a.

       9c. Net mortgage or rent expense.
                                                                                                                       Copy
            Subtract line 9b (total average monthly payment) from line 9a (mortgage or                   $1,141.00 here                $1,141.00
            rent expense). If this amount is less than $0, enter $0.

 10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect
     and affects the calculation of your monthly expenses, fill in any additional amount you claim.

       Explain
       why:


 11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
            0. Go to line 14.
            1. Go to line 12.
            2 or more. Go to line 12.

 12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the                        $420.00
     operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                                    Case number (if known)

 13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease
     expense for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on
     the vehicle. In addition, you may not claim the expense for more than two vehicles.


      Vehicle 1         Describe Vehicle 1:          2017 Ford F-250



                                                                                                                           $508.00
      13a. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13b. Average monthly payment for all debts secured by Vehicle 1.

            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all
            amounts that are contractually due to each secured creditor in the 60 months
            after you filed for bankruptcy. Then divide by 60.


              Name of each creditor for Vehicle 1                            Average monthly
                                                                             payment


            Ford Motor Credit Co, LLC (p)                                       $1,274.00

                                                                         +
                                                                                                                                        Repeat this
                                                                                                   Copy                                 amount on
                                Total average monthly payment                   $1,274.00          here                  –    $1,274.00 line 33b.

                                                                                                                                        Copy net
                                                                                                                                        Vehicle 1
      13c. Net Vehicle 1 ownership or lease expense.                                                                                    expense
           Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ........................                    $0.00 here                  $0.00

      Vehicle 2         Describe Vehicle 2:          2017 Harley Davidson Streetglide Motorcycle



                                                                                                                           $508.00
      13d. Ownership or leasing costs using IRS Local Standard. ...........................................................................

      13e. Average monthly payment for all debts secured by Vehicle 2. Do not include
           costs for leased vehicles.

              Name of each creditor for Vehicle 2                            Average monthly
                                                                             payment


            Harley Davidson Financial                                              $506.12

                                                                         +
                                                                                                                                       Repeat this
                                                                                                   Copy                                amount on
                                Total average monthly payment                      $506.12         here                  –     $506.12 line 33c.

                                                                                                                                        Copy net
                                                                                                                                        Vehicle 2
      13f. Net Vehicle 2 ownership or lease expense.                                                                                    expense
           Subtract line 13e from 13d. If this amount is less than $0, enter $0.                   ........................       $1.88 here                  $1.88

 14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public                                   $0.00
     Transportation expense allowance regardless of whether you use public transportation.




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Debtor 1    Bobby Stoker
Debtor 2    Stephanie Carol Cook Stoker                                                   Case number (if known)

 15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may                  $0.00
     also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
     not claim more than the IRS Local Standard for Public Transportation.

 Other Necessary Expenses            In addition to the expense deductions listed above, you are allowed your monthly expenses for the
                                     following IRS categories.

 16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,                $988.89
     self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
     your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
     and subtract that number from the total monthly amount that is withheld to pay for taxes.

      Do not include real estate, sales, or use taxes.

 17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,                $0.00
     union dues, and uniform costs.

      Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.


 18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are                 $111.88
     filing together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
     insurance on your dependents, or a non-filing spouse's life insurance, or for any form of life insurance other than
     term.

 19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative                   $0.00
     agency, such as spousal or child support payments.

      Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

 20. Education: The total monthly amount that you pay for education that is either required:                                               $0.00
       as a condition for your job, or
       for your physically or mentally challenged dependent child if no public education is available for similar services.

 21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.                 $0.00
     Do not include payments for any elementary or secondary school education.

 22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that                      $0.00
     is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
     health savings account. Include only the amount that is more than the total entered in line 7.
     Payments for health insurance or health savings accounts should be listed only in line 25.

 23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services             +        $0.00
     for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
     phone service, to the extent necessary for your health and welfare or that of your dependents or for the production
     of income, if it is not reimbursed by your employer.

      Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
      expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

 24. Add all of the expenses allowed under the IRS expense allowances.
     Add lines 6 through 23.                                                                                                          $5,371.65




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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                 Case number (if known)

 Additional Expense Deductions              These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.

 25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
     insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your
     spouse, or your dependents.


      Health insurance                                            $244.40

      Disability insurance                                         $15.49

      Health savings account                              +         $0.00

      Total                                                       $259.89 Copy total here                                                                        $259.89
                                                                                                   ...........................................................................


      Do you actually spend this total amount?

              No. How much do you actually spend?

              Yes

 26. Continuing contributions to the care of household or family members. The actual monthly expenses that you                                                      $0.00
     will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
     member of your household or member of your immediate family who is unable to pay for such expenses. These
     expenses may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

 27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the                                                   $0.00
     safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

      By law, the court must keep the nature of these expenses confidential.

 28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses
     on line 8.

      If you believe that you have home energy costs that are more than the home energy costs included in expenses on
      line 8, then fill in the excess amount of home energy costs.

      You must give your case trustee documentation of your actual expenses, and you must show that the additional
      amount claimed is reasonable and necessary.

 29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than                                                         $0.00
     $170.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
     public elementary or secondary school.

      You must give your case trustee documentation of your actual expenses, and you must explain why the amount
      claimed is reasonable and necessary and not already accounted for in lines 6-23.

      * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

 30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
     higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
     than 5% of the food and clothing allowances in the IRS National Standards.

      To find a chart showing the maximum additional allowance, go online using the link specified in the separate
      instructions for this form. This chart may also be available at the bankruptcy clerk's office.

      You must show that the additional amount claimed is reasonable and necessary.

 31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                         +           $150.00
     instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).




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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                                                      Case number (if known)

 32. Add all of the additional expense deductions.
     Add lines 25 though 31.                                                                                                                                                                           $409.89

 Deductions for Debt Payment


 33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
     loans, and other secured debt, fill in lines 33a through 33e.

      To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in
      the 60 months after you file for bankruptcy. Then divide by 60.

                                                                                                                                       Average monthly
                                                                                                                                       payment
              Mortgages on your home:

      33a.                                                                                                                                           $0.00
              Copy line 9b here............................................................................................................................................................................................

              Loans on your first two vehicles:

      33b.                                                                                                                                   $1,274.00
              Copy line 13b here............................................................................................................................................................................................

      33c.                                                                                                                                      $506.12
              Copy line 13e here............................................................................................................................................................................................

      33d.    List other secured debts:
      Name of each creditor for                                    Identify property that                       Does payment
      other secured debt                                           secures the debt                             include taxes or
                                                                                                                insurance?

      Gregg County Tax Collector                                   Homestead: 908 Garden Drive                                 No                   $136.64
                                                                                                                               Yes

      Wells Fargo Dealer Services                                  2014 Ford Focus                                             No                   $186.77
                                                                                                                               Yes

                                                                                                                               No
                                                                                                                                        +
                                                                                                                               Yes
                                                                                                                                                                        Copy total
      33e.                                                                                                       $2,103.53
              Total average monthly payment. Add lines 33a through 33d...............................................................                                   here                        $2,103.53

 34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property
     necessary for your support or the support of your dependents?

             No. Go to line 35.
             Yes. State any amount that you must pay to a creditor, in addition to the
                  payments listed in line 33, to keep possession of your property (called
                  the cure amount). Next, divide by 60 and fill in the information below.

 Name of the creditor                         Identify property that                             Total cure                                 Monthly cure
                                              secures the debt                                   amount                                     amount

                                                                                                                           ÷ 60 =

                                                                                                                           ÷ 60 =
                                                                                                                           ÷ 60 =       +
                                                                                                                                                                        Copy total
                                                                                                                             Total                      $0.00           here                               $0.00




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Debtor 1       Bobby Stoker
Debtor 2       Stephanie Carol Cook Stoker                                                                                 Case number (if known)

 35. Do you owe any priority claims such as a priority tax, child support, or
     alimony -- that are past due as of the filing date of your bankruptcy case?
     11 U.S.C. § 507.
             No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include
                  current or ongoing priority claims, such as those you listed in line 19.

                                                                                                                                 $5,795.40
                      Total amount of all past-due priority claims...................................................................................... ÷ 60 =                    $96.59

 36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
     For more information, go online using the link for Bankruptcy Basics specified in the separate
     instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.

             No. Go to line 37.
             Yes. Fill in the following information.

                      Projected monthly plan payment if you were filing under Chapter 13                                                    $2,851.29
                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).
                                                                                                                                        X              9.6 %
                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may
                      also be available at the bankruptcy clerk's office.

                                                                                                                                                               Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                             $273.72           here               $273.72

 37. Add all of the deductions for debt payment.
     Add lines 33e through 36.                                                                                                                                                   $2,473.84

 Total Deductions from Income

 38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
                                                                                             $5,371.65
      expense allowances.............................................................................................................

                                                                              $409.89
      Copy line 32, All of the additional expense deductions...............................

                                                                   + $2,473.84
      Copy line 37, All of the deductions for debt payment.....................................................

      Total deductions                                                                          $8,255.38             Copy total here                                            $8,255.38


 Part 3:         Determine Whether There Is a Presumption of Abuse
 39. Calculate monthly disposable income for 60 months

      39a.                                                                 $10,043.47
               Copy line 4, adjusted current monthly income...................................

      39b.                                                                    – $8,255.38
               Copy line 38, Total deductions.......................................................................................................
                                                                                                                   Copy
      39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                $1,788.09 here                               $1,788.09
               Subtract line 39b from line 39a.

               For the next 60 months (5 years)...........................................................................................................
                                                                                                                                    x 60

                                                                                                                                                                  Copy
      39d.                                                                                                                  39d. $107,285.40 here
               Total. Multiply line 39c by 60.....................................................................................................................             $107,285.40




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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                                  Case number (if known)

 40. Find out whether there is a presumption of abuse. Check the box that applies:

             The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

             The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

             * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.

 41. 41a.     Fill in the amount of your total nonpriority unsecured debt. If you filled out
              A Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
              (Official Form 106Sum), you may refer to line 3b on that form. .....................................................................

                                                                                                                              x .25
      41b.    25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                          Copy
              Multiply line 41a by 0.25.                                                                                                             here

 42. Determine whether the income you have left over after subtracting all allowed deductions
     is enough to pay 25% of your unsecured, nonpriority debt.
     Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

             Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption of abuse.
             You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


 Part 4:        Give Details About Special Circumstances
 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for
     which there is no reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

             No.    Go to Part 5.

             Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                  for each item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income
                    adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                    expenses or income adjustments.


                      Give a detailed explanation of the special circumstances                                                              Average monthly expense
                                                                                                                                            or income adjustment




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Debtor 1      Bobby Stoker
Debtor 2      Stephanie Carol Cook Stoker                                                Case number (if known)

 Part 5:       Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Bobby Stoker                                                    X   /s/ Stephanie Carol Cook Stoker
           Bobby Stoker, Debtor 1                                                  Stephanie Carol Cook Stoker, Debtor 2

           Date 6/10/2019                                                          Date 6/10/2019
                MM / DD / YYYY                                                          MM / DD / YYYY




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